                              NO. 07-10-00306-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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NOVEMBER 24, 2010
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                        JAMES S. JONES, M.D., APPELLANT
                                       
                                      v.
                                       
HARDEMAN COUNTY HOSPITAL DISTRICT BY AND THROUGH ITS BOARD OF DIRECTORS; SCOTT NAIL, AMANDA DARLING AND WYLIE TABOR, APPELLEES 
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                FROM THE 46TH DISTRICT COURT OF HARDEMAN COUNTY;
                                       
                  NO. 10,565; HONORABLE DAN MIKE BIRD, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Before us is the motion of appellees to dismiss the appeal of appellant James S. Jones, M.D.  Our consideration of the motion is guided by the following procedural history of this case.
	This appeal is accelerated.  The deadline for filing Jones's brief was September 20, 2010.  When the brief was not filed we notified Jones in writing that unless his brief was filed on or before October 14, along with a motion to extend time for filing the brief, his appeal was subject to dismissal without notice for want of prosecution.  Jones did not file a brief but filed a motion for additional time to file his brief, requesting an extension until October 18.  We granted the motion and ordered the brief due October 18, but Jones did not file his brief.  By letter of October 25, we ordered Jones to file his brief and a motion for extension of time for filing the brief on or before November 4.  Jones has made no response to our order.
On November 1, appellees filed a motion to dismiss the appeal asserting Jones has not timely prosecuted his appeal and did not comply with an order of the Court.  According to the certificate of conference attached to the motion, counsel for appellees was unable to confer with counsel for Jones about the motion by telephone but left a message which received no response.  We held the motion for more than ten days but Jones has filed no response.
	Because Jones did not timely file his brief and did not comply with an order of the Court, we grant appellees' motion and dismiss the appeal.  Tex. R. [Civ]. P. 38.8(a), 42.3(b),(c).
Per Curiam 


